                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT


COREY TURNER,                    :

     Petitioner,                 :
                                            PRISONER
V.                               :   Case No. 3:06-CV-06 (RNC)

JAMES DZURENDA,                  :

     Respondent.                 :

                         RULING AND ORDER

     Petitioner, a Connecticut inmate serving a sixty year

sentence for murder, moves pro se for a writ of habeas corpus

vacating his conviction on the ground that he was denied his

Sixth Amendment right to effective assistance of counsel.     In a

prior state habeas proceeding, petitioner’s claims were rejected

on the merits under Strickland v. Washington, 466 U.S. 668

(1984).   (See Transcript of Record, Turner v. Warden State

Prison, No. CV98-0332808 (Conn. Super. Ct. Jan. 4,

2002)(hereinafter “Jan. 4 Habeas Trial Tr.”)).    Petitioner’s

primary claim is that his trial counsel was ineffective in

failing to attempt to impeach the State’s main witness with a

sworn statement he gave to a detective three days after the

murder.   Petitioner also alleges that his appellate counsel was

ineffective in failing to claim that the trial court erred in

overruling an objection to part of the prosecutor’s closing

argument.   To obtain federal habeas relief, petitioner must show


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that the state court applied Strickland in an objectively

unreasonable manner.       See Bell v. Cone, 535 U.S. 685, 699 (2002).

Respondent argues that petitioner has not met this standard.

After careful consideration, I agree and therefore dismiss the

petition.

I.   Background

     In 1997, following a joint jury trial in Connecticut

Superior Court, petitioner, Corey Turner, was convicted of murder

and assault in the first degree, and his brother, Charles Turner,

was convicted of being an accessory to these crimes.        The victim,

Richard Woods, was shot in the front yard of a residence at 145

Homestead Avenue in Hartford at about 11:30 p.m. on August 11,

1995.       A number of people were in the immediate vicinity at the

time of the shooting, including Kendrick Hampton, Darius Powell,

and Betty Lewis, all of whom testified for the State at the

trial.

     Hampton is the witness whose testimony is at issue here.

Three days after the shooting, he went to the police station and

provided a signed, sworn statement to Detective Keith Knight.

(See Petr.’s Mem. Of Law Ex. A.)1        Hampton’s statement recounted


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      The notarized statement is three-pages long, single-
spaced, and indicates that it was read by or to Hampton before he
signed it and swore to its accuracy. Detective Knight testified
at petitioner’s trial that he read the complete statement to
Hampton, and asked Hampton if there was anything he wanted to add
or correct. Hampton then signed the statement attesting to its
accuracy and completeness in the presence of a sergeant.

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the following.    On the night of the murder, he was standing in

the front yard of 141 Homestead.       Woods and Darius Powell were

standing nearby in the front yard of 145 Homestead.       The Turner

brothers drove by in a tan Oldsmobile.       Petitioner was known by

his street name “Boku”; petitioner’s brother was known by his

street name “Homicide.”    Not long after the Turners drove by

together, petitioner’s brother returned in the car alone, parked

across the street from where Hampton, Woods, and Powell were

standing, got out of the car, and looked in their direction while

“bobbing back and forth.”    At this time, a black male suddenly

emerged from behind the residence at 145 Homestead and ran up to

Woods and Powell armed with a gun, causing Betty Lewis, who was

sitting on the front steps of the residence, to scream.       The

black male began to shoot directly at Woods striking him in the

leg.    The black male was about “6'0" tall,”     had a “thin build,”

and was “wearing a camouflage shirt over his eyes.”       Woods yelled

to Hampton, “Ken, he shot me in the leg.”       The black male shot

Woods five more times then ran through a gate leading to the back

yard of 145 Homestead.    Petitioner’s brother jumped into the

Oldsmobile, drove off, and stopped approximately 3 or 4 houses

away.    The black male who shot Woods got into the car with



(Transcript of Record at 932-33, State v. Turner, No. CR96-485849
(Conn. Super. Ct. Aug. 8, 1997) (hereinafter “Trial Tr.”)).
Knight’s testimony was significant because Hampton testified that
his ability to read is very limited. (Trial Tr. 265.)

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petitioner’s brother and the two left the area.    Hampton ran to

Woods who was on the ground having been shot multiple times.

Woods grabbed Hampton’s leg and said “Boku” and “Homicide” shot

me.   The black male Hampton saw shoot Woods “fit[] the physical

description of ‘Boku,’” whom Hampton had known for fifteen years.

       At the trial, Hampton gave a somewhat more positive

identification of the petitioner as the shooter.    He testified

that when the initial shots were fired, he and Woods were looking

at petitioner’s brother “dancing around” in the street.    In

response to the gunfire, he and Woods turned and saw the shooter.

The shooter matched the petitioner’s height, weight, and build

and, although he had a camouflage shirt around his head, his eyes

and nose were visible.   (Trial Tr. 230-31.)   After the shooting,

according to Hampton’s testimony, he saw the shooter run behind

the house at 145 Homestead, then emerge from behind a house

approximately four houses away, where the tan Oldsmobile was now

parked with petitioner’s brother at the wheel.    At this time,

Hampton testified, the shooter no longer had the camouflage shirt

around his head. (Trial Tr. 236.)    Hampton testified that he

watched the shooter get in the passenger’s side of the waiting

car, which then left the area.   Hampton ultimately testified on

re-direct that he was “sure” the petitioner and his brother were

the perpetrators.   His identification of the petitioner was based

on the shooter’s height, weight, and build, the shooter’s eyes


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and nose, and his opportunity to observe the shooter with no head

covering.

     Hampton was cross-examined extensively, first by counsel for

petitioner’s brother, then by petitioner’s counsel.    In the

course of the cross-examination, Hampton made inconsistent

statements concerning the time and sequence of key events, and

ultimately acknowledged that he had great difficulty remembering

things.2    He was asked about the statement he gave to Detective

Knight and some parts of the statement were admitted into

evidence as inconsistent with his trial testimony.    But neither

defense counsel questioned Hampton about the discrepancies

between his identification testimony and prior sworn statement

concerning his degree of certainty that the petitioner was the


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        Counsel for petitioner’s brother questioned Hampton about
inconsistencies in his statements regarding the time he saw
petitioner and his brother drive by in the petitioner’s car
before ths shooting, the time the shooting occurred, the period
of time that elapsed between the drive-by and subsequent
shooting, and the clothing worn by petitioner’s brother. The
lawyer also questioned Hampton about where he was standing at the
time of the shooting, his ability to observe what occurred, what
the shooter was wearing, where the shooter went after the
shooting, Woods’s statement that he was shot by “Boku,” whether
on the night of the shooting Hampton had been drinking or using
drugs, whether he was involved in the drug trade, his three-day
delay in going to the police to give a statement, and the
involvement of the victim’s family in his decision to go to the
police. Petitioner’s counsel cross-examined Hampton about
inconsistencies in his statements regarding the location of his
residence and whether he was accompanied by a relative of the
victim when he went to the police. He also questioned Hampton
about his description of the shooter, the circumstances of the
shooting, his memory of the events, and the great difficulty he
had remembering things.

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shooter, his ability to see the shooter’s eyes and nose, and his

opportunity to observe the shooter with no head covering.

     Darius Powell testified that he saw the petitioner confront

Woods on Homestead Avenue during the afternoon on the day Woods

was shot and heard him tell Woods, “I don’t give a fuck about

you.”    He also heard petitioner tell Woods, “I’m going to get

mine.”    (Trial Tr. 516-18.)    After the argument, Powell

testified, the petitioner left in his tan Oldsmobile.      (Trial Tr.

584-86.)    That night, Powell was standing next to Woods in the

front yard of the residence at 145 Homestead when the shooting

occurred.    Just before the first shots, he saw petitioner’s

brother standing across the street “sort of” looking in their

direction.    He sensed someone was approaching from behind, turned

to see who was there, and saw a man with a gun “creeping up” on

them.    The gun was a black 9-millimeter pistol similar to one

Powell had seen in the possession of petitioner’s brother a week

before.    The man was slim and about six feet tall, like the

petitioner, and wore black boots similar to ones the petitioner

wore.    (Trial Tr. 536-37.)    He was wearing a camouflage shirt

over his face but his eyes were visible and Powell saw part of

the shooter’s face.    (Trial Tr. 523, 525.)    Powell testified that

he looked into the shooter’s eyes and realized he had seen them

“lots of times.”    (Trial Tr. 526.)    The shooter fired the gun at

Woods and Woods turned to see who was shooting him.      To avoid


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being hit, Powell jumped over a nearby fence and took cover until

the shooting stopped.    He then went back to assist Woods.      Powell

testified that he saw Woods holding Hampton’s leg asking for

help.

     The State presented the testimony of several other

witnesses.    Betty Lewis testified that the man who shot Woods was

wearing a dark-colored ski mask covering his face but she could

see his eyes, nose, and mouth.    (Trial Tr. 127, 171-72.)      Lillian

Williams testified that the shooter’s build matched that of the

petitioner.   (Trial Tr. 711-12.)       Jesse Keith testified that

after the shooting he went to Woods’s side and heard Woods say,

“Boku shot me, man.”    (Trial Tr. 605.)

     After the State rested its direct case, the trial court

excused the jury and asked defense counsel if they intended to

present an alibi defense.    They said they had no plans to do so.

The court then advised petitioner and his brother that they had a

right to testify.   The next day, petitioner’s counsel informed

the prosecutor that he would like to call an alibi witness, Fonda

Williams, with whom the petitioner has a child.        The prosecutor

asked the court to preclude Williams from testifying on the

ground that the petitioner had failed to provide notice of his

alibi, notwithstanding the State’s request that he do so, which

the State had submitted a year earlier.        Petitioner’s counsel

argued that there was good cause for the late disclosure because


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petitioner did not tell him about this alibi witness until after

the State rested.   Petitioner told the court that he did not

disclose his alibi witness earlier because he did not decide to

testify until after the court advised him of his right to do so.

The court ended up ruling that Williams would be allowed to

testify but only after the State had an adequate opportunity to

prepare to cross-examine her.

     The petitioner then took the stand.      He testified that the

day before the murder, he was released from jail in New York City

and returned to Connecticut.    The next day, he had his car towed

to a garage to be repaired.    After the car was towed, he went to

Homestead Avenue to see Woods.    Petitioner testified that he and

Woods were “like brothers” and their families were friendly with

each other.   According to petitioner’s testimony, Woods gave him

a ride to the garage to pick up the car and lent him money to

help pay for the repairs.   Petitioner testified that he then

drove to his brother’s house.    At about 8:00 that night,

petitioner testified, he and his brother picked up Williams and

petitioner’s son and drove to Williams’s apartment.      Petitioner

testified that his brother then left in the car alone.      According

to petitioner’s testimony, he remained in the apartment with

Williams for the next six hours.       His brother eventually returned

to get him, according to petitioner’s account, between 1:00 a.m.

and 2:00 a.m.   Petitioner testified that his brother informed him


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that Woods had been shot.   The two then drove to the scene of the

shooting and “walked around” before going to a club.

     On cross-examination, petitioner admitted that his street

name is “Boku” and that Woods knew him by this name.   He also

admitted that he had been convicted of narcotics offenses in

Connecticut and New York.   He denied having a confrontation with

Woods on the day of the murder, and denied being present when

Woods was murdered.   With regard to the belated disclosure of his

alibi witness, petitioner stated that he “didn’t decide to

testify until Friday, and if [he] wasn’t going to testify, there

was no need for [Williams] to testify.”

     The prosecutor questioned petitioner about a telephone call

he placed to Williams from jail after he belatedly disclosed her

as an alibi witness and she was interviewed by the State.

Petitioner acknowledged that in the course of this telephone

conversation, which was routinely recorded by the Connecticut

Department of Correction, he asked Williams to tell him what

questions had been asked by the prosecutor during the interview.

He acknowledged telling Williams that it “would have been

sweeter” if she had said “not to my knowledge” when asked if he

ever had a gun.   He also acknowledged telling her that the murder

happened the day after he was released from jail.   Finally, he

acknowledged telling her, “Don’t worry, when Daddy come home,

everything will be all right.   I’ll reimburse you for this.”


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     When Williams took the stand, her testimony concerning

petitioner’s alibi matched his.    She testified that on the night

of the murder, petitioner and his brother met her at her parents’

house at about 7:30 p.m. or 8:00 p.m., and drove her and her son

to her apartment.   Petitioner’s brother then left in the

petitioner’s car, she testified, and the petitioner stayed with

her in the apartment until his brother came back to get him at

1:30 a.m. or 1:45 a.m.   She testified that she could recall the

day in question because petitioner had been released from jail

the day before.   She testified that she was able to recall the

time he left her apartment because she looked at a clock, saw

that it was almost 2:00 a.m., and realized his late departure

left her little time to sleep before she had to get up to go to

work at a store in Hartford at 7:00 a.m.   The prosecutor

successfully impeached this testimony by showing that Williams’s

first day as an employee of the store in Hartford was several

months after the murder.

     The prosecutor cross-examined Williams regarding the

telephone conversation she had with the petitioner after she was

interviewed by the State.   She acknowledged discussing the

substance of the interview.   She admitted that petitioner told

her “it would have been sweeter” if she had not told the

prosecutor he had been in possession of guns in the past.     The

prosecutor asked if the petitioner reminded her that the date of


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the murder was the day after he got out of jail.      Williams

responded that she had an independent recollection of the date.

     Petitioner’s brother also testified on his own behalf and in

support of petitioner’s alibi.   He admitted that he was standing

across the street from Woods, Hampton, and Powell when the murder

occurred.   He testified that he saw the shooter but did not see

where the shooter came from.   He testified that when the shooting

started, he jumped in petitioner’s car and left the scene.       He

denied stopping to pick up the shooter.      He claimed that after he

left the scene, he visited a woman named Josephine Mitchell and

told her about the shooting.   He then drove around for awhile,

“smoked a little bit of weed,” and picked up the petitioner at

Williams’s house at about 1:00 a.m.

     The prosecutor cross-examined petitioner’s brother regarding

a telephone call he made from jail to his mother concerning

Josephine Mitchell.   He denied telling his mother to instruct

Mitchell “what the fuck to say.”      He also denied telling his

mother that if Mitchell did not remember what happened, his

mother should tell Mitchell to just say that she did.      Later, he

changed his testimony and said that he did not deny making these

comments but did not recall making them.

     In rebuttal, the State called a witness from the Department

of Correction to testify about tape recordings of three telephone

calls that had been placed from Walker Correctional Institution,


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two by the petitioner’s brother, one by the petitioner.     The

recordings were admitted to rebut the testimony of the petitioner

and his brother concerning the content of the calls.

     After the State rested, petitioner’s counsel offered the

recording of the petitioner’s telephone conversation with

Williams concerning her interview with the prosecutor.      The State

objected.    Petitioner’s counsel argued that the tape was relevant

to rebut insinuations that the prosecutor had made about the

content of the conversation.    The trial court excluded the tape

on the ground that it was being offered as a prior consistent

statement.

     In closing argument, the prosecutor argued that the evidence

established the guilt of the petitioner and his brother beyond a

reasonable doubt.    The prosecutor did not focus on Hampton’s

testimony that he saw the shooter’s eyes and nose at close range

and subsequently saw the shooter with no head covering.

Petitioner’s counsel argued that Hampton’s testimony was not

credible and that Williams’s testimony established the

petitioner’s innocence.    In rebuttal, the prosecutor challenged

the petitioner’s alibi:

            Now he tells you he’s known about this for
            years, he’s known about it since the day of
            the shooting. If you know that you have an
            alibi witness, do you wait until the weekend
            after the State’s case is done to contact
            your witness and talk to her the night before
            she’s going to testify to find out if
            everything is all set? Did he call her that

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            night just to find out if everything was all
            set or did he call her that night to make
            sure his testimony matched with hers? They
            both acknowledged they talked about the
            testimony in the case.

(Trial Tr. 1466-67.)

     Counsel for petitioner’s brother objected to this argument

on the ground that the prosecutor was arguing facts not in

evidence.    The trial court overruled the objection and the

prosecutor continued her argument, stating:

            They both admitted to talking to one another
            July 29th, after her meeting with me. They
            both admitted they discussed the substance of
            their testimony and my questions to her.

(Trial Tr. 1467.)

     Petitioner appealed his conviction on a variety of grounds.

Each of his claims was rejected by the Connecticut Supreme Court.

See State v. Turner, 252 Conn. 714, 751 A.2d 372 (2000).

Petitioner then filed a state petition for a writ of habeas

corpus claiming ineffective assistance of trial and appellate

counsel.    The petition claimed that petitioner’s trial counsel

was ineffective in failing to impeach Hampton’s identification

testimony with the written statement he gave to Detective Knight.

The petition alleged that petitioner’s appellate counsel was

ineffective in failing to claim that the objection to the

prosecutor’s reference during closing argument to the telephone

conversation between the petitioner and Williams should have been

sustained.

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     At the state habeas hearing, petitioner’s trial counsel was

given an opportunity to explain why he did not cross-examine

Hampton regarding the discrepancies between his identification

testimony at trial and prior sworn statement.   He testified that

although Hampton’s trial testimony identified the petitioner with

greater certainty than the earlier statement, he saw no

inconsistency between the two that could be used to undermine

Hampton’s credibility.   He explained:

          It’s a judgment call. . . . [H]e didn’t say
          anything at trial that disagreed with what he
          said in his [prior] statement. . . . The
          testimony that Mr. Hampton gave at trial was
          more specific and more detailed and more
          specific and more detailed and more positive
          than what he said in his statement. . . .
          But, it was not inconsistent with what he
          said. He just said more.

(Transcript of Record at 106-07, Turner v. Warden State Prison,

No. CV98-0332808 (Conn. Super. Ct. Jan. 3, 2002)(hereinafter

“Jan. 3 Habeas Trial Tr.”)).

     Petitioner’s counsel testified that he did not confront

Hampton with the prior signed statement because:

          [Hampton] was so emphatic . . . in his direct
          examination, I was concerned that, by going
          over and trying to contradict him, that I
          would give him the opportunity to be more
          emphatic with the jury. I wasn’t confident
          that the cross-examination would break his
          testimony. I thought it would offer an
          opportunity to reinforce his testimony.

(Jan. 3 Habeas Trial Tr. 100.)

     The state habeas court agreed with petitioner’s counsel that

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whether Hampton’s trial testimony and prior signed statement are

inconsistent is a “judgment call” (Jan. 4 Habeas Trial Tr. 51),

and concluded that petitioner’s counsel decided to refrain from

cross-examining Hampton more extensively with regard to the prior

statement “for strategic reasons” (Jan. 4 Habeas Trial Tr. 53).

The court observed that Hampton was not going to change his

testimony identifying the petitioner as the shooter, and that the

evidence before the jury when Hampton finished testifying

permitted the jury to have a reasonable doubt about the

defendant’s guilt.    (Jan. 4 Habeas Trial Tr. 51-52.)    The court

also concluded that further cross-examination regarding Hampton’s

signed statement would not have changed the result of the trial.

(Jan. 4 Habeas Trial Tr. 49, 53.)

       With regard to the alleged ineffectiveness of appellate

counsel, the state habeas court found that petitioner failed to

prove by a preponderance of evidence that his appellate counsel

performed in a deficient manner.      (Jan. 4 Habeas Trial Tr. 49,

61.)    The court reasoned that the exclusion of the tape recording

did not preclude the prosecutor from referring to the telephone

conversation because “there was testimony about what was on the

tape.    The petitioner testified about it, Miss Williams testified

about [it], the jury already had the information.      Having the

tape itself wouldn’t have made any difference.”      (Jan. 4 Habeas

Trial Tr. 61.)    Accordingly, the petition was dismissed.    (Jan. 4


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Habeas Trial Tr. 64.)

      Petitioner’s request for certification to appeal was denied.

The Connecticut Appellate Court dismissed petitioner’s

uncertified appeal, Turner v. Comm’r of Corr., 86 Conn. App. 341,

861 A.2d 522 (2004), and the Connecticut Supreme Court denied

certification to appeal.   Turner v. Comm’r of Corr., 272 Conn.

914, 866 A.2d 1286 (2005).   Petitioner then filed this petition.3

II.   Discussion

      The Antiterrorism and Effective Death Penalty Act of 1996

(“AEDPA”) provides:

      An application for a writ of habeas corpus on behalf of
      a person in custody pursuant to the judgment of a State


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       On May 26, 2004, before the Connecticut Appellate Court’s
decision on petitioner’s uncertified appeal, petitioner filed a
second state habeas petition claiming that his trial counsel
provided ineffective assistance. The petition was dismissed
because it failed to present any new evidence in support of the
claim. Turner v. Warden, No. CV04-0004567 (Conn. Super. Ct. Aug.
27, 2004). The Connecticut Appellate Court dismissed
petitioner’s appeal, Turner v. Comm’r of Corr., 97 Conn. App. 15,
902 A.2d 716 (2006), and the Connecticut Supreme Court denied
certification to appeal. Turner v. Comm’r of Corr., 280 Conn.
922, 908 A.2d 546 (2006).
     On December 17, 2004, petitioner filed a third state habeas
petition claiming ineffective assistance of counsel by his habeas
appellate counsel on his first state habeas appeal. The state
habeas court held a two-day trial and issued a written decision
denying the petition on the merits. See Turner v. Comm’r of
Corr., No. CV04-4000240, 2007 WL 2200489 (Conn. Super. Ct. July
2, 2007); Turner v. Comm’r of Corr., No. CV04-4000240, 2007 WL
2035129 (Conn. Super. Ct. June 20, 2007). The court concluded
that “[t]here are no issues remaining to be litigated in
connection with the petitioner’s . . . conviction. Any further
petitions for a writ of habeas corpus shall be considered
successive and abusing the privilege of the writ.” Turner, No.
CV04-4000240, 2007 WL 2035129, at *6.

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     court shall not be granted with respect to any claim
     that was adjudicated on the merits in State court
     proceedings unless the adjudication of the claim -
        (1) resulted in a decision that was contrary to, or
     involved an unreasonable application of, clearly
     established Federal law, as determined by the Supreme
     Court of the United States; or (2) resulted in a decision that was base
determination of the facts in light of the evidence presented in
the State court proceeding.

28 U.S.C. § 2254(d).

     Petitions for federal habeas relief alleging state court

errors in applying Strickland are assessed under the

“unreasonable application” clause of AEDPA.   Bell, 535 U.S. at

698-99.   To permit habeas relief under this clause, “a state

court decision must be not only erroneous but also unreasonable.

Some increment of incorrectness beyond error is required.”

Francis S. v. Stone, 221 F.3d 100, 111 (2d Cir. 2000).

     Strickland establishes a two-prong test for determining

whether the Sixth Amendment right to effective assistance of

counsel has been violated.   The defendant must prove that (1) his

counsel’s performance fell below an objective standard of

reasonableness under prevailing professional norms; and (2) but

for his counsel’s errors, there is a reasonable probability the

result of the proceeding would have been different.    Strickland,

466 U.S. at 688, 694.   Failure to show “either deficient

performance or sufficient prejudice defeats the ineffectiveness

claim.”   Id. at 700.

     In applying the first prong of Strickland, a court must


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operate with a strong presumption that counsel’s conduct fell

within the wide range of competent assistance.    Lindstadt v.

Keane, 239 F.3d 191, 198-99 (2d Cir. 2001).    In gauging the

alleged deficiency, the court must consider all the circumstances

and make every effort to eliminate the distorting effects of

hindsight.   Id. at 199.   “As a general rule, a habeas petitioner

will be able to demonstrate that [his] trial counsel’s decisions

were objectively unreasonable only if ‘there [was] no . . .

tactical justification for the course taken.’”    Lynn v. Bliden,

443 F.3d 238, 247 (2d Cir. 2006) (quoting United States v.

Luciano, 158 F.3d 655, 660 (2d Cir. 1998).

     A.   Trial Counsel

     Petitioner contends that his trial counsel’s failure to

attempt to impeach Hampton’s identification testimony with the

sworn statement given to Detective Knight three days after the

murder was objectively unreasonable under Strickland.

Petitioner’s argument has some force.   Petitioner went to trial

relying on a defense of misidentification.    (See Jan. 3 Habeas

Trial Tr. 83.)   This defense had some chance of success because

it was undisputed that the shooter tried to conceal his identity

by placing a shirt on his head as a mask.    At the trial, Hampton

testified that he could see the petitioner’s eyes and nose,

despite the mask, and subsequently saw the petitioner without the

mask (as he rejoined his brother in the Oldsmobile).    Hampton’s


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prior sworn statement, which omitted these points and referred to

the shooter only as a “black male” who “fit the physical

description” of the petitioner, gave the defense impeachment

material that potentially could raise a question in the jurors’

minds about Hampton’s testimony identifying the petitioner as the

shooter.   This material was not as powerful as a direct

contradiction, but inconsistencies on important points can

undermine credibility and they can be shown by omissions.    See

State v. Whelan, 200 Conn. 743, 750 n.4 (1986)(in determining

whether an inconsistency exists, the testimony of a witness as a

whole, or the whole impression or effect of what has been said,

must be examined); see also United States v. Meserve, 271 F.3d

314, 320-21 (1st Cir. 2001)(prior statement that omits details

included in trial testimony is inconsistent if it would have been

“natural” for the witness to include the details in the earlier

statement); United States v. Trzaska, 111 F.3d 1019, 1024-25 (2d

Cir. 1997) (variation that reasonably bears on credibility

suffices to make prior statement admissible).

     The sworn statement Hampton gave to Detective Knight

purports to be an accurate and complete statement of what he saw

when his friend was killed just three days earlier.4   A jury



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        As noted previously, Detective Knight specifically
testified that he asked Hampton if there was anything that
Hampton wanted to add to or correct in the statement. (See Trial
Tr. 265, 932-33.)

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could find that it would have been natural for Hampton to

disclose to the Detective the details he provided at trial

concerning his ability to see the petitioner’s eyes and nose at

close range, although the makeshift mask was in place at the

time, and his subsequent sighting of the petitioner without the

mask.       In addition, a jury could find it curious that Hampton was

more certain of his identification of the petitioner when he

testified at trial, approximately two years after the murder,

than he apparently was when he spoke with Detective Knight soon

after the event.      Given petitioner’s reliance on a defense of

misidentification, these points were clearly proper for the

jury’s consideration and thus worth making.5

     Moreover, cross-examining Hampton regarding the

discrepancies between his identification testimony and prior

sworn statement posed little or no risk to the defense.      A cross-

examiner armed with Hampton’s prior sworn statement would have an

undoubted right to lay before the jury the discrepancies at issue

through questions fairly calling for a yes or no.      In the event

Hampton responded by trying to repeat or reinforce his earlier


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       Connecticut’s standard criminal jury instruction on
identification testimony requires the jury to take into account
the opportunity the witness had to observe the person, the degree
of certainty of the identification made in court, the
circumstances and degree of certainty of any out of court
identification, the length of time between the event in question
and the identification in court or out of court, and any other
relevant circumstances. See 5 David M. Borden & Leonard Orland,
Conn. Practice Series, Criminal Jury Instructions § 3.14.

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testimony, the court could be called on to instruct him to answer

yes or no if he could do so truthfully.     In addition, the trial

transcript shows that Hampton was not a strong witness.    His

testimony was so vague and inconsistent with regard to key points

that the prosecutor downplayed the importance of his testimony in

her closing argument, although he was her principal witness.

Given the other inconsistencies in his testimony, there was no

reason for petitioner’s counsel to refrain from bringing more

inconsistencies to the jury’s attention.6

     Nevertheless, I agree with respondent that the state habeas

court did not unreasonably apply the first prong of Strickland.

The state court was entitled to credit the testimony of

petitioner’s counsel that he was fully familiar with the contents

of Hampton’s prior sworn statement and consciously chose to

refrain from cross-examining him more aggressively for strategic

reasons.   Under Strickland, habeas courts are reluctant to

second-guess reasonably informed decisions made by counsel with

an eye toward benefitting the defendant.    See Dunham v. Travis,

313 F.3d 724, 732 (2d Cir. 2002)(“Decisions about ‘whether to


     6
        It is conceivable that experienced counsel might have
decided to forego cross-examining Hampton regarding the
discrepancies at issue to avoid the risk that the prosecutor
would attempt to rehabilitate Hampton by getting him to testify
that when he spoke with Detective Knight he was scared. But the
trial court did not permit the prosecutor to try to paint Hampton
as a target for retaliation and there is no reason to believe the
court would have ruled differently if Hampton had been cross-
examined more fully regarding his prior sworn statement.

                                21
engage in cross-examination, and if so to what extent and in what

manner, are . . . strategic in nature’ and generally will not

support an ineffective assistance claim.”)(quoting United States

v. Nersesian, 824 F.2d 1294, 1321 (2d Cir. 1987); Pavel v.

Hollins, 261 F.3d 210, 217 (2d Cir. 2001).   If the

inconsistencies between Hampton’s identification testimony and

prior sworn statement were more serious, a decision to forego

cross-examining him on the inconsistencies might well be

objectively unreasonable.   See Harris v. Artuz, 100 F. App’x 56,

58-59 (2d Cir. 2004); Berryman v. Morton, 100 F.3d 1089, 1098-99

(3d Cir. 1996); Harris v. Senkowski, 298 F. Supp. 2d 320, 337,

340 (E.D.N.Y. 2004).   But that is not the situation presented

here.   “Critically, the purported inconsistencies largely do not

consist of facts that changed between [Hampton’s] earlier account

and his trial testimony, but facts that were absent from the

earlier statement.”    Espinal v. Bennett, Nos. CV-00-1337(DGT) &

CV-00-6536(DGT), 2008 WL 5104237, *20 (E.D.N.Y. Dec. 5, 2008).      A

reasonable jury could find that the omissions from Hampton’s

sworn statement to Detective Knight regarding his ability to see

the shooter’s eyes and nose and his subsequent sighting of the

shooter without the head covering were not so important as to

affect the credibility of his identification testimony in court.

     Even if the state court unreasonably applied the first prong

of Strickland, petitioner cannot obtain relief unless he carries


                                 22
his burden under the second prong.     To meet his burden in this

regard, petitioner must show that his counsel’s error actually

prejudiced the defense to the extent that it “undermine[s]

confidence in the outcome.”    Strickland, 466 U.S. at 694.   To

satisfy this test, a defendant does not have to show that his

counsel’s deficient conduct more likely than not altered the

outcome.   Henry v. Poole, 409 F.3d 48, 63 (2d Cir. 2005).    But

merely showing that it had some conceivable effect is

insufficient.    See id.

     Petitioner’s claim that his counsel’s failure to attempt to

impeach Hampton was sufficiently prejudicial to satisfy the

second prong of Strickland cannot be dismissed out of hand.

Hampton’s testimony was clearly important to the prosecution’s

case.   He was the only witness who testified that he saw the

petitioner and his brother in the Oldsmobile shortly before the

shooting and he was the only one who identified the petitioner as

the shooter.    The other evidence of petitioner’s guilt was not

overwhelming.

     Here again, however, I conclude that the state habeas court

did not unreasonably apply Strickland.     Petitioner’s counsel’s

failure to impeach Hampton’s identification testimony with his

statement to Detective Knight was not as prejudicial as

petitioner now claims.     The probative value of the discrepancies

between Hampton’s testimony and prior statement is the suggestion


                                  23
that he was unsure of his identification when he spoke with

Detective Knight because he did not actually see any part of the

shooter’s face.   It is unlikely that this suggestion, had it been

raised by petitioner’s trial counsel, would have swayed the jury

to have a reasonable doubt about petitioner’s guilt.

     If this suggestion had been raised, the prosecutor could

have persuasively argued that Hampton’s prior statement actually

evinces no uncertainty about the identity of the perpetrators.

The statement positively identifies petitioner’s brother as the

person who worked in concert with the shooter by setting up the

ambush and helping the shooter escape; it effectively identifies

petitioner as the shooter; and it even provides a motive for the

murder (one that did not come out at trial).7

     To rebut the suggestion that the shooter’s mask prevented

Hampton from seeing any part of the shooter’s face, the

prosecutor could point to testimony of other witnesses

corroborating Hampton’s trial testimony.   As previously

mentioned, Darius Powell testified that he saw the shooter’s eyes

and part of the shooter’s face and had seen those eyes “lots of

times.”   (Trial Tr. 523, 525-26.)   Betty Lewis testified that the

man who shot Woods was wearing a ski mask but she could see his



     7
        Hampton told Detective Knight that Woods blamed the
Turner brothers for stealing $20,000 in drug proceeds from his
house and that they were afraid of what he might do to them.
(Petr.’s Mem. Of Law Ex. A at 1.)

                                24
eyes, nose, and mouth. (Trial Tr. 127, 171-72.)      And Jesse Keith,

who came to Woods’s aid, corroborated Hampton’s testimony that

Woods himself identified the shooter as “Boku.”      (Trial Tr. 594,

605.)       In view of the testimony of these other witnesses, there

is no reasonable probability that if petitioner’s counsel had

impeached Hampton using the omissions from his prior sworn

statement, the outcome of the trial would have been different.

     In assessing the issue of prejudice, it is appropriate to

consider that after the State rested, petitioner decided to

present an alibi defense.8      In electing to testify, petitioner

gambled that the jury would not believe him.      By their verdict,

the jurors made it clear that they thought his alibi was false.

There is no reason to think that if petitioner’s counsel had

cross-examined Hampton more fully regarding his prior statement,

the jury would have come to a different conclusion regarding the

veracity of petitioner’s own testimony (or that of his brother

and Williams).

    B. Appellate Counsel

     Petitioner alleges that his appellate counsel was

ineffective in failing to claim that the trial court erred when

it overruled the objection to the prosecutor’s closing argument



        8
        Petitioner does not allege that but for his counsel’s
failure to impeach Hampton’s identification testimony with the
prior statement, he would have refrained from presenting an alibi
defense.

                                    25
regarding the telephone conversation he had with Williams about

her interview with the prosecutor.9    This claim requires little

discussion.   The Second Circuit has adopted the two-prong

Strickland test for appellate counsel.     See Claudio v. Scully,

982 F.2d 798, 803 (2d Cir. 1992).     Petitioner may establish

deficient performance if he shows that appellate counsel “omitted

significant and obvious issues while pursuing issues that were

clearly and significantly weaker.”     Mayo v. Henderson, 13 F.3d

528, 533 (2d Cir. 1994).   Appellate counsel does not have a duty

to advance every nonfrivolous argument that could be made.       See

Jones v. Barnes, 463 U.S. 745, 751-52 (1983)(“Experienced

advocates since time beyond memory have emphasized the importance

of winnowing out weaker arguments on appeal and focusing on one

central issue if possible, or at most on a few key issues.”).

     To prevail on his claim, petitioner must show that the state

habeas court unreasonably applied Strickland when it rejected

this claim.   He has not made this showing.10   Petitioner’s

belated disclosure of an alibi, the timing of his call to

Williams, and the testimony of the petitioner and Williams



     9
        Petitioner initially also alleged that his appellate
counsel was ineffective for failing to claim that the prosecutor
committed misconduct during closing argument when she argued that
Hampton was a target for retaliation for having testified against
the petitioner. This allegation has been withdrawn. (Petr.’s
Mem. Of Law 1.)
     10
          Petitioner’s memorandum does not address this claim.

                                 26
concerning the contents of the call, provided an adequate basis

in the record for the prosecutor’s argument.   The exclusion of

the tape did not preclude the prosecutor from making the

argument.   Thus, the objection to the prosecutor’s argument was

properly overruled.   Since the court’s ruling was proper,

petitioner’s appellate counsel was not ineffective in failing to

claim otherwise.

III. Conclusion

     Accordingly, the petition is hereby dismissed.   Because

petitioner’s claim with regard to his trial counsel is not

insubstantial, a certificate of appealability will issue on the

following questions: (1) whether the state habeas court’s

rejection of petitioner’s claim that his trial counsel was

ineffective in failing to cross-examine Hampton concerning the

discrepancies between his identification testimony at trial and

prior sworn statement constitutes an unreasonable application of

the first prong of Strickland; and (2) whether the state habeas

court’s determination that petitioner failed to show a reasonable

probability that but for his trial counsel’s error the outcome

would have been different constitutes an unreasonable application

of the second prong of Strickland.

     So ordered this 30th day of January 2009.


                                              /s/ RNC
                                           Robert N. Chatigny
                                     United States District Judge

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